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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 18-CIV-80176-Bloom/Reinhart

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and
  W&K INFO DEFENSE RESEARCH, LLC,

                 Plaintiffs,

         v.

  CRAIG WRIGHT,

              Defendant.
  ___________________________________/

        ORDER REGARDING DEFENDANT’S NON-DISCLOSURE AGREEMENTS

         On January 9, 2020, the Court heard oral argument regarding Defendant’s assertion of

  confidentiality in declining to produce certain documents in discovery. According to defense

  counsel, Defendant has previously entered into non-disclosure agreements (NDA’s) with other

  individuals and entities which he believes precludes him from producing certain documents in this

  lawsuit. It is hereby ORDERED that any documents, otherwise discoverable in this lawsuit,

  which Defendant has withheld on the basis of the NDA’s, shall be produced by Defendant, subject

  to the terms of the parties’ confidentiality stipulation which the Court has adopted in this case.

         DONE AND ORDERED in Chambers this 9th day of January 2020, at West Palm Beach

  in the Southern District of Florida.




                                         _____________________________
                                         BRUCE REINHART
                                         UNITED STATES MAGISTRATE JUDGE
